Case 1:19-cv-00874-RBJ-MEH Document 346-3 Filed 01/29/21 USDC Colorado Page 1 of 4




                     EXHIBIT 2
  Case 1:19-cv-00874-RBJ-MEH Document 346-3 Filed 01/29/21 USDC Colorado Page 2 of 4



Ehlers, J. Hardy

From:                            Seth Fortenbery <sethfortenbery@quinnemanuel.com>
Sent:                            Thursday, January 7, 2021 10:14 AM
To:                              Ehlers, J. Hardy; Ranahan, Erin; Golinveaux, Jennifer; Elkin, Michael; Kearney, Thomas;
                                 Padmanabhan, Krishnan; Spitzer, Seth; Anderson, Sean; Alvarez, Cesie; Skopec, Allison;
                                 Andrew Schapiro; David Eiseman; Jessica Rose; Linda Brewer; Allison Huebert; Todd
                                 Anten; Michelle A. Clark; Nathan Hamstra; Charter-Copyright-QE
Cc:                              Kamin, Mitchell A; Sperling, Jonathan; Sahni, Neema T; Grigsby, Stacey; Hill, Phil; Picker,
                                 Joshua B; Fields, Michael; Matt Oppenheim (Matt@oandzlaw.com); Jeff Gould
                                 (Jeff@oandzlaw.com); Scott Zebrak; Andrew (Andrew@oandzlaw.com); Kellyn Goler; Jia
                                 Ryu; 'Corey Miller'; Alex Kaplan
Subject:                         RE: Warner Records Inc. et al. v. Charter Communications, Inc. | Dec. 7 Discovery
                                 Responses


[EXTERNAL]
Hardy,

We write in response to your email below.

As a threshold issue, we note that Plaintiffs have now twice served Charter with discovery purporting to be
“Plaintiffs’ Fourth Set of Interrogatories to Defendant Charter Communications, Inc.” (See Interrogatories
served on Nov. 5, 2020, and Dec. 23, 2020). Both sets of interrogatories began their numerical counting at
number 17. Though the rationale for this irregularity is unclear, we assume Plaintiffs may have been
attempting to replace the November 5 set with the December 23 set, given that the November 5 requests
related to works and a claims period that Judge Jackson did not allow to be added to the case and ordered
stricken from the record. See Dec. 15, 2020, Hrg. Tr. 10:6‐17 (granting Charter’s oral motion to strike the
proposed counterclaims from Plaintiffs’ answer); see also Dkt. No. 316 (“The plaintiffs’ request to add new
claims is DENIED.”). For the purposes of this discussion, we are nevertheless assuming that the “Fourth Set of
Interrogatories” you are discussing below are the November 5 interrogatories. Your attempt to enforce this
discovery is improper for all of the reasons set forth below.

The November 5 discovery requests—Plaintiffs’ Fourth Set of Interrogatories and Sixth Set of RFPs—have
consistently been understood by both the parties and the Court as discovery aimed exclusively at Plaintiffs’
proposed counterclaims, which, again, were never properly at issue in the case and have been
stricken. Indeed, your first email on this subject noted that “Plaintiffs are proceeding with discovery on their
counter‐counterclaims” and announced that Plaintiffs “are hereby amending the Discovery Period for all of
our discovery so that it covers the Counterclaim period.” H. Ehlers Email, Oct. 9, 2020. Charter objected to
Plaintiffs’ attempt to unilaterally amend its preexisting discovery via email in contravention of the Federal
Rules of Civil Procedure. See, e.g., Oct. 12, 2020 Email from A. Huebert to H. Ehlers. At the subsequent
discovery conference, the Special Master explained that Plaintiffs would need to formally serve “requests that
address this particular time period and are related to the counter‐counterclaim[s].” Oct. 26, 2020, Hrg. Tr. at
24:23‐25 (emphasis added). Plaintiffs inexplicably served their new discovery requests on the evening of
November 5 despite receiving a ruling earlier that day indicating that Judge Jackson was not inclined to expand
the scope of the case. See, e.g., Dkt. No. 284 at 5‐6 (granting Charter leave to amend its counterclaims to
clarify they were limited to the original claims period and works‐in‐suit). In doing so, Plaintiffs explicitly noted
that they were “re‐serv[ing] their requests to cover the counter‐counterclaims period.” Nov. 5, 2020 Email
from H. Ehlers to L. Brewer (emphasis added). In substance, the only difference between the discovery
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  Case 1:19-cv-00874-RBJ-MEH Document 346-3 Filed 01/29/21 USDC Colorado Page 3 of 4


already served and the new requests was the stated intent to cover the new works and new proposed claims
period. Oct. 26, 2020 Hrg. Tr. at 25:20‐21 (Special Master recognizing that “Plaintiffs have represented that
[the new requests] are the exact same requests” as had already been served, but simply applied to the new
proposed claims period). Consistent with this understanding, embedded in each of the November 5 discovery
requests was a citation to: (a) the original, earlier‐served request, and (b) any prior ruling impacting the scope
of the earlier request. Oct. 26, 2020, Hrg. Tr. at 24:11‐17. Since it then became clear from Judge Jackson’s
November 5 Order and November 7 Minute Order that Judge Jackson was not going to allow the new claims,
Charter asked Plaintiffs to withdraw the November 5 discovery. Plaintiffs refused, and required Charter to
formally serve objections on December 7. Charter’s December 7 objections made explicit that Charter viewed
the discovery to be inappropriate because Plaintiffs had not yet been granted leave to add the new
claims. See December 7, 2020 Objections to Fourth Set of Rogs at p. 6 (“Because such leave has not yet been
granted by the Court, any such claims are not operative and any discovery is inappropriate unless and until
leave to amend is granted”) (citing Kirschner as Tr. of Millennium Lender Claim Tr. v. J.P. Morgan Chase Bank,
N.A., 2020 WL 4671577, at *2 (S.D.N.Y. Aug. 12, 2020) (discovery improper on claims where leave to amend
had been sought but not yet granted because “[d]iscovery must be grounded in the operative complaint,
not … a proposed amended complaint”)).

On December 15, Judge Jackson issued his ruling on Plaintiffs’ proposed counterclaims and unequivocally
ended this dispute for good. Plaintiffs’ “counterclaims” were not allowed to be added to this case and have
been formally stricken from the record. As such, all of the November 5 discovery requests related to the
barred claims are moot and unenforceable. Kirschner, 2020 WL 4671577, at *2. Given the extensive history
related to the now‐barred claims, and the significant time and expense that has already been wasted on them,
we will not entertain any further discussion regarding the November 5 discovery. We will view any further
attempts to do so as a clear violation of Judge Jackson’s December 15 ruling.

Regards,

Seth


From: Ehlers, J. Hardy [mailto:JEhlers@cov.com]
Sent: Monday, January 4, 2021 6:52 PM
To: Ranahan, Erin <ERanahan@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Elkin, Michael
<MElkin@winston.com>; Kearney, Thomas <TKearney@winston.com>; Padmanabhan, Krishnan
<KPadmanabhan@winston.com>; Spitzer, Seth <SSpitzer@winston.com>; Anderson, Sean <SRanderson@winston.com>;
Alvarez, Cesie <CAlvarez@winston.com>; Skopec, Allison <ASkopec@winston.com>; Andrew Schapiro
<andrewschapiro@quinnemanuel.com>; David Eiseman <davideiseman@quinnemanuel.com>; Jessica Rose
<jessicarose@quinnemanuel.com>; Linda Brewer <lindabrewer@quinnemanuel.com>; Allison Huebert
<allisonhuebert@quinnemanuel.com>; Todd Anten <toddanten@quinnemanuel.com>; Michelle A. Clark
<michelleclark@quinnemanuel.com>; Nathan Hamstra <nathanhamstra@quinnemanuel.com>; Charter‐Copyright‐QE
<charter‐copyright‐qe@quinnemanuel.com>
Cc: Kamin, Mitchell A <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T
<nsahni@cov.com>; Grigsby, Stacey <SGrigsby@cov.com>; Hill, Phil <PAHill@cov.com>; Picker, Joshua B
<jpicker@cov.com>; Fields, Michael <MFields@cov.com>; Matt Oppenheim (Matt@oandzlaw.com)
<Matt@oandzlaw.com>; Jeff Gould (Jeff@oandzlaw.com) <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>;
Andrew (Andrew@oandzlaw.com) <Andrew@oandzlaw.com>; Kellyn Goler <Kellyn@oandzlaw.com>; Jia Ryu
<Jia@oandzlaw.com>; 'Corey Miller' <Corey@oandzlaw.com>; Alex Kaplan <alex@oandzlaw.com>
Subject: Warner Records Inc. et al. v. Charter Communications, Inc. | Dec. 7 Discovery Responses

                                                 [EXTERNAL EMAIL]
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   Case 1:19-cv-00874-RBJ-MEH Document 346-3 Filed 01/29/21 USDC Colorado Page 4 of 4




Counsel:

We write to confer with you regarding Charter’s responses to Plaintiffs’ November 5 Sixth Set of RFPs and Fourth Set of
Special Interrogatories. Each of Charter’s Responses and Objections claims that the requested documents and
information is “not relevant to either of the parties’ respective available claims or defenses” and is “relevant only to the
Universal Plaintiffs’ purported counterclaims.” This is not true. Throughout this case, Charter has asserted a defense
that any recovery would be a windfall to Plaintiffs because “today the [peer‐to‐peer] problem is no longer here….[n]ow
plaintiffs are making a ton of money off of internet streaming, so it’s no longer an issue” and there is no need for any
deterrence. E.g., Sept. 9, 2020 Hrg. Tr. at 34:1‐10.

At minimum, RFPs 89, 98, 101, 110, 112, and 128, and Interrogatories 20‐22 in Plaintiffs’ November 5 Sets are directly
relevant to rebut Charter’s claims that peer‐to‐peer infringement is “no longer an issue” and there is no value in
deterring Charter’s continuing failure to address it. Please advise this week whether Charter will agree to produce
documents responsive to these RFPs and to respond to these Interrogatories. If Charter will refuse, please provide a
written explanation for its refusal and provide some times this week when you are available to confer.

Thanks,

Hardy

J. Hardy Ehlers
Pronouns: He/Him/His

Covington & Burling LLP
1999 Avenue of the Stars
Los Angeles, CA 90067-4643
T +1 424 332 4778 | jehlers@cov.com
www.cov.com



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